EXHIBIT 4
          Mobility Workx, LLC
                     v.
Cellco Partnership, D/B/A Verizon Wireless
  Civil Action No.: 4:17-CV-00872-ALM

                 P.R. 3-1
      Disclosure of Asserted Claims
      and Infringement Contentions

                                             June 29, 2018




           U.S. Pat. No.: 8,213,417
      Asserted Claim(s): 1, 4, and 7
     Accused Product(s): LTE Network
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Defendant's Accused Products



    MWx accuses Defendant’s LTE network of infringing the ‘417 Patent:

    Verizon’s LTE network incorporates network components detailed in the LTE standard, including Evolved - Universal Terrestrial
    Radio Access Network NodeB (“eNB”), Mobility Management Entity (“MME”), Serving Gateway (“S-GW”), and User Equipment
    (“UE”) components.

    Examples of UEs include the Samsung Galaxy S8, which is compatible with the Verizon LTE cellular network and directed,
    controlled, made, used, sold, offered for sale, imported, or otherwise distributed by or through Defendant and/or Defendant's
    suppliers,   retailers,  and     resellers,    for  use     on    Verizon’s    LTE    network    (“Verizon   UE”).      (See
    https://www.verizonwireless.com/smartphones/samsung-galaxy-s8/).

    Examples of eNBs include the Alcatel/Nokia 9926 eNodeB, which, upon information and belief, is compatible with the Verizon
    LTE cellular network and made, used, sold, offered for sale, or imported, by or through Defendant and/or Defendant's suppliers,
    retailers, and resellers, for use on Verizon’s LTE network (“Verizon eNBs”).

    Examples of MMEs include the Alcatel/Nokia 9471 Wireless Mobility Manager, which, upon information and belief, is compatible
    with the Verizon LTE cellular network and made, used, sold, offered for sale, or imported by or through Defendant and/or
    Defendant's suppliers, retailers, and resellers, for use on Verizon’s LTE network (“Verizon MMEs”).

    Examples of S-GWs include the Alcatel/Nokia 7750 Service Router, which, upon information and belief, is compatible with the
    Verizon LTE cellular network and made, used, sold, offered for sale, or imported by or through Defendant and/or Defendant's
    suppliers, retailers, and resellers, for use on Verizon’s LTE network (“Verizon S-GWs”).

    The Verizon LTE Network, Verizon UE, Verizon eNBs, Verizon MMEs, and Verizon S-GWs, are collectively referred to as the
    Accused Product. However, discovery is ongoing and MWx reserves the right to amend and/or supplement the Accused Product
    list as necessary.
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X2 Signaling
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S1 Signaling
